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                      THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

 OPULENT TREASURES, INC.,

                      Plaintiff,

               v.
                                                   Civil Action No.: 2:21-cv-00313-JRG
 YA YA CREATIONS, INC., BALSA
                                                      JURY TRIAL DEMANDED
 CIRCLE, LLC, LEILANI WHOLESALE,
 CHAIR COVER FACTORY, INC., AND
 CHICAGO CHAIR COVERS, INC.

                      Defendants.


                           SECOND AMENDED COMPLAINT

       Plaintiff Opulent Treasures, Inc. (“Opulent” or “Plaintiff”) files this Second

Amended Complaint for damages and injunctive relief against Defendants Ya Ya Creations,

Inc. (“Ya Ya”), Balsa Circle, LLC (“Balsa Circle”), Leilani Wholesale, Chair Cover Factory,

Inc., and Chicago Chair Covers, Inc.

                                   NATURE OF THE ACTION

       1.     This is a civil action for trade dress infringement, trade dress dilution, false

designation of origin, unfair competition, unjust enrichment, and request for injunctive

relief arising out of Defendants’ unauthorized and infringing use of Opulent’s trade dress

for cake stands and other décor items. As described more fully below, upon information

and belief, Defendants have knowingly, willfully, or intentionally infringed Opulent’s trade

dress, damaged Opulent’s business reputation, and subjected Opulent to unfair

competition, lost profits, and other monetary damages. The infringement is ongoing,

causing Opulent to suffer irreparable harm.



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           2.      Opulent sues under the Lanham Act, including 15 U.S.C. §§ 1114(1) and

1125(a) and (c) et seq. (Infringement, False Designation of Origin, Unfair Competition and

Dilution); 15 U.S.C. § 1116 (Injunctive Relief), 15 U.S.C § 1117 (Attorney’s Fees and

Treble Damages), 15 U.S.C. § 1118, the Texas Business and Commerce Code § 16 et seq.,

and common law.

                                                    PARTIES

           3.      Opulent is a corporation organized and existing under the laws of the state

of California, with its principal place of business in El Segundo, California. It sells its

products through its website www.opulentreasures.com as well as through other e-

commerce platforms including Amazon.com, Wayfair.com, WalMart.com, and eBay.com.

It also sells its products to leading retail stores such as TJX Corp., including its affiliates

Home Goods, TJ Maxx, Marshalls, Winners, Home Sense Canada and TK Maxx Europe.

Opulent is and has been marketing and selling Opulent’s Designs 1 in Texas and throughout

the United States in interstate commerce continuously.

           4.      On information and belief, Defendant Ya Ya is a California corporation with

its principal place of business at 13155 Railroad Ave., City of Industry, California 91746.

           5.      On information and belief, Defendant Ya Ya operates affiliated websites

www.efavormart.com,                 www.tableclothsfactory.com,               www.ehomart.com,           and

www.silkflowersfactory.com.

           6.      On information and belief, Defendant Balsa Circle, is a California

corporation with its principal place of business at 5035 Galliano Ave Rancho Cucamonga,

CA 91739.


1
    Opulent’s Designs mean federally and common law protected trade dresses which Defendants infringe.


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          7.    On information and believe, Defendant Balsa Circle operates the website

www.balsacircle.com.

          8.    On information and belief, Defendant Leilani Wholesale is a California

corporation with its principal place of business at 5035 Galliano Ave Rancho Cucamonga,

CA 91739.

          9.    On information and belief, Defendant Leilani Wholesale operates the website

www.leilaniwholesale.com.

          10.   On information and belief, Defendant Chair Cover Factory, Inc. is a dissolved

Illinois corporation that previously had its principal place of business at 12444 Anand

Brook Dr., Orland Park, IL 60467.

          11.   On information and belief, Defendant Chair Cover Factory, Inc. operated the

website www.chaircoverfactory.com before it dissolved.

          12.   On information and belief, Defendant Chicago Chair Covers, Inc. is an

Illinois corporation with its principal place of business at 12444 Anand Brook Dr., Orland

Park, IL 60467.

          13.   On information and belief, Defendant Chicago Chair Covers, Inc. operates

the website www.chaircoverfactory.com.

          14.   Defendants are the manufacturers, sellers, or distributors of cake stands and

other décor items which are infringing on Opulent’s Designs.

          15.   Defendants sell their infringing products in Texas and throughout the United

States.




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                               JURISDICTION AND VENUE

       16.    This Court has subject-matter jurisdiction over all aspects of this action under

15 U.S.C. § 1051 et seq. (“Lanham Act”) and 28 U.S.C. §§ 1331, 1337, and 1338.

       17.    This Court has pendent jurisdiction over the Texas statutory and common

law claims pursuant to 28 U.S.C. § 1367 because the claims are so related to the other

claims in the action over which the Court has original jurisdiction that they form part of

the same case or controversy.

       18.    This Court has personal jurisdiction over Defendants through Defendants

transacting, doing, and soliciting business in this District, because a substantial part of the

relevant events occurred in this District, and because Defendants have infringed,

contributed to the infringement of, or actively induced others to infringe Opulent’s Designs

in this District. Defendants continue to infringe, contribute to the infringement of, or

actively induce others to infringe Opulent’s Designs in this District. Defendants have

purposefully availed themselves of the privilege of doing business in this District and

directed its conduct into this District because Defendants conduct continuous and

systematic business in this District, placed infringing products in the stream of commerce

directed to residents of this District, derived commercial benefits from the sale of infringing

products and caused injuries to Opulent within this District. Defendants operate websites

accessible by Internet users in this District and offer their services and products to residents

of Texas and this District. The infringing products that Defendants advertise and offer, and

make available to purchasers through its websites, are able to be ordered by and shipped to

purchasers in Texas. Because the Defendants voluntarily engaged in tortious acts in Texas




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and made purposeful contacts with Texas, the exercise of jurisdiction will not offend

traditional notions of fair play and substantial justice.

       19.    Venue is proper under 28 U.S.C. §§ 1391(b)-(c) and 1400(a) because

Defendants transact business in this District, a substantial part of the events or omissions

giving rise to the claims alleged occurred in this District, Opulent has been injured in this

District, and, under 28 U.S.C. § 1400(b), Defendants committed acts of infringement in this

District.



                              FACTS SUPPORTING CLAIMS

       A. The Opulent Brand and Opulent Trade Dress

       20.    Since 1995, Opulent has been engaged in the design, distribution, marketing,

offering for sale, and sale of elegantly and uniquely crafted entertainment and home décor

pieces, including, but not limited to, chandelier dessert stands, candelabras, and lamps. In

creating its products, Opulent has always sought to add charm, elegance, and stunning

beauty to each customer’s special occasions and celebrations.

       21.    Opulent is the creator of the “Chandelier Cake Stand,” “Chandelier Cupcake

Holder,” “Chandelier Candle Holder” and many other distinct trade dresses, all protected

under federal or common trademark law (collectively “Opulent’s Trade Dress”). These

products did not exist before Opulent introduced them to the marketplace.

       22.    Since its founding, the popularity of Opulent’s Trade Dress has steadily

grown throughout the United States. Its unique decorative pieces are coveted by wedding

and event planners as well as individual consumers looking to bring a sophisticated look to

their events, gatherings, and homes.



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       23.    In recent years, Opulent’s commitment to quality and beauty has helped

propel the Opulent Treasures® brand to an overwhelming level of popularity among

consumers. After more than twenty years of business, Opulent’s loyal customer base spans

not only across the United States, but the entire globe.

       24.    In fact, just through the trend-ideas sharing website, www.Pinterest.com,

Opulent’s “pins” have engaged with nearly thirty million individuals. Additionally, Opulent

has received unsolicited media attention several times from outlets including Romantic

Homes, Buzzfeed, Prime Living, C Magazine, U.S. Weekly, among others. Opulent’s

products have also been featured on multiple television networks, including QVC, Bravo,

Nickelodeon, HGTV, as well as on programs such as the Today Show, The Real

Housewives, Keeping Up with The Kardashians, and Vanderpump Rules.

       25.    At first serving specialty stores, boutiques, and event planners, Opulent has

grown into a multi-million-dollar business, shipping up to 40,000 pieces per month, and

experiencing sales around $3 million per year via TJX Corp., including its affiliates Home

Goods, TJ Maxx, and Marshalls.

       26.    Opulent’s products are distributed and sold to consumers through authorized

retailers throughout the United States, including Texas, at point-of-sale on the Internet (e-

commerce platforms such as Wayfair, Houzz, Amazon, and QVC), and through its own

website www.opulenttreasures.com.

       27.    Opulent has also been enrolled on the Amazon Brand Registry since June

2017 to identify its registrations and trademark rights.




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       28.    Opulent has acquired trade dress rights under the Lanham Act, as well as

under state statutory and common law, in the overall look, design, arrangement, and

appearance of its cake stands and other décor items.

       29.    In connection with some of its best-selling products, Opulent has used a

variety of legally protected trademarks on and in connection with the advertisement and

sale of its products, including, but not limited to, those detailed in this Second Amended

Complaint.

       30.    Opulent owns trademarks for Opulent’s dessert table, tiered dessert stand,

and candelabra which are registered in the U.S. Trademark Office (Reg. Nos. 5,912,235;

4,729,340; 4,729,341; and 4,733,374) (collectively, “Opulent’s 3D Marks”).

       31.     Opulent also owns a literary mark for OPULENT TREASURES® (Reg. No.

4,381,949).

       32.     Opulent’s 3D Marks are identified and described below in Table 1, below.

The designs depicted below consist of non-functional design elements, are not essential to

the use or purpose of the products, do not affect their cost or quality, and are not the reason

the products work. Moreover, the ornamental aspects of the arrangement and combination

of the features are arbitrary and non-functional.

                                                                FIRST USE IN
     REG. NUMBER           TRADEMARK              REG. DATE                         GOODS
                                                                COMMERCE
        5,912,235                                 November     August 2006      IC 021:
     (Principal Reg.)                             19, 2019                      Dessert
                                                                                serving trays,
                                                                                tiered serving
                                                                                trays for
                                                                                domestic
                                                                                purposes;
                                                                                tiered tray




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                                                                          serving
                                                                          platters




       4,729,340                            April 28,      August 2006    IC 021:
     (Supplemental                          2015                          Dessert
         Reg.)                                                            serving trays,
                                                                          tiered serving
                                                                          trays for
                                                                          domestic
                                                                          purposes;
                                                                          tiered tray
                                                                          serving
                                                                          platters
       4,729,341                            April 28,      August 2006    IC 020:
     (Supplemental                          2015                          Tables,
         Reg.)                                                            Display
                                                                          tables, tables
                                                                          for
                                                                          displaying
                                                                          desserts
       4,733,374                            May 5, 2015    August 2006    IC 021:
     (Supplemental                                                        Candle
         Reg.)                                                            holders;
                                                                          Non-electric
                                                                          candelabras




          33.   Opulent is the exclusive licensee of Opulent’s Designs and Opulent’s 3D

Marks. The key to Opulent’s success is the high quality and reputation of its products,

which are closely associated by the public with Opulent’s Designs. Opulent has used

Opulent’s Designs continuously as the main identifier of its elegant and distinct décor

pieces.


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       34.    Opulent has extensively and continuously promoted and used its trade dress

designs for years in the United States and in Texas, and as explained in more detail below,

has acquired trade dress rights in its famous designs. In connection with marketing and

selling Opulent’s Designs, Plaintiff has extensively used, displayed, and advertised the non-

functional features of the Opulent’s Designs that comprise the trade dresses of said designs.

In the minds of the public, the primary significance of these non-functional and distinctive

features is to identify the source of the product, and Opulent Designs have acquired

secondary meaning. The distinctive and non-functional features also identify that the

product is reliable and of the high quality associated with Opulent.

       35.    Opulent’s products, depicted in Table 2 below, are Opulent’s most

recognizable trade dresses. For example, one of the most iconic is “Chandelier Cake Stand,”

federally protected by U.S. Reg. No. 5,912,235. Said Chandelier Cake Stand consists of a

decorative display table embodying these features: ornate paneling surrounding the

circumference of the tabletop; beads and crystals encircling the table and dangling from the

ornate paneling; and a multi-grooved fluted base. The ornate paneling with or without

jewels that is part of Opulent’s chandelier design is what makes Opulent’s trade dress

recognizable to consumers. Customer’s associate this distinctive design with Opulent’s

recognized quality.




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       Chandelier Round Cake Stand                 Chandelier Square Cake Stand
           Reg No. 5,912,235




         Chandelier Candle Holder                    Chandelier Cupcake Stand
            Reg No. 4,733,374                           Reg No. 4,729,340



      36.    Additionally, Opulent’s Designs have become famous and a well-known

indicator of the origin and quality of Opulent’s décor products. As explained above,

Opulent has used, promoted, marketed, and made significant sales of its designs.

      37.    Attached as Exhibit A is a copy of the Certificates of Registration for

Opulent’s 3D Marks and OPULENT TREASURES® literary mark along with a current




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printout of the electronic status page for these registrations downloaded from the USPTO

database at http://tsdr.uspto.gov.

         38.   Opulent is an applicant in two applications pending on the USPTO’s Principal

Register for Opulent’s Chandelier Cupcake Stand and Chandelier Candle Holder, Serial

Nos. 90830532 and 90839684, respectively.

         39.   According to 15 U.S.C. §§ 1115(a) and 1057(b), Opulent’s U.S. Reg. No.

5,912,235 is prima facie evidence of the validity of the Opulent’s trade dress in Opulent’s

Chandelier Cake Stand.

         40.   According to 15 U.S.C. §§ 1115(a) and 1057(b), Opulent’s Chandelier Cake

Stand registration is prima facie evidence of Opulent’s ownership of the Opulent trade

dress.

         41.   According to 15 U.S.C. §§ 1115(a) and 1057(b), Opulent Chandelier Cake

Stand registrations is prima facie evidence of Opulent’s exclusive right to use the Opulent

trade dress in the United States commerce.

         42.   Together with the rights granted by Opulent’s 3D Marks, Plaintiff has strong

common law rights in its trade dresses (the Opulent’s Designs depicted in Illustration 1)

through its extensive use and promotion of them in commerce. Opulent is and has been

marketing and selling the Opulent’s Designs in Texas and in this District at hundreds of

brick-and-mortar locations in Texas and across the United States such as TJ Maxx, Home

Goods, Marshalls, and through e-commerce distributors. Opulent has also been diligent in

protecting and enforcing Opulent’s Designs.

         43.   Opulent’s Designs serve as a unique source identifier for Opulent’s products.

Opulent prominently uses and displays its federally registered OPULENT TREASURES®



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Mark on its décor pieces including product packaging, point-of-sale displays, and on

Plaintiff’s advertising, promotional materials, and website (including social media).

       44.    Opulent has invested time, effort, and hundreds of thousands of dollars in

marketing to build the fame, reputation, and goodwill of Opulent’s Designs.

       45.    Opulent’s Designs are distinctive designations of the source of origin of its

products.

       46.    Opulent’s Designs are uniquely associated with Plaintiff and its high-quality

goods. These trade dresses are assets of incalculable value as symbols of Opulent, its quality

of goods and its goodwill. These trade dresses have acquired secondary meaning and have

become famous in the United States, in Texas, and in this District.

       47.    Opulent’s Designs are well-known and were well-known before Defendants’

infringement began.

       48.    As a result of Opulent’s extensive advertising and promotional efforts and its

continuous use, Opulent’s Designs are distinctive and widely recognized by the relevant

consuming public of Texas and the United States as a designation of source of the involved

goods. As a result, Opulent owns federal, common law, and statutory trade dress rights in

ornamental design and appearances of all Opulent’s Designs.

             DEFENDANTS’ INFRINGEMENT OF OPULENT’S DESIGNS

       49.    Defendants have purposefully offered for sale, sold, distributed, imported

and/or re-sold, advertised, marketed, or promoted, and continue to offer for sale, sell,

distribute, import and/or re-sell, advertise, market, or promote household products known

as:     CHDLR_045_GOLD;             CHDLR_046_GOLD;              CHDLR_CAKE02_GOLD;

CHDLR_CAKE01_GOLD; CHDLR_CAKE03_GOLD; CHDLR_CAKE04_GOLD; and



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CHDLR_CAKE05_8_GOLD; (“the Accused Products”) 2 that are confusingly similar to,

and dilute, Opulent’s Designs. Defendants use Opulent’s Designs in commerce without

Opulent’s authorization. Furthermore, in an unsophisticated manner, Defendants have

combined elements from several of Opulent’s Designs or arranged Opulent’s Designs in new

a configuration to conceal flagrant infringement.

           50.      The confusing similarity between the Opulent Designs (right) and Accused

Products (left) is shown, for example, in Illustration 1 below:

               ACCUSED PRODUCTS                                           OPULENT’S DESIGNS




 CHDLR_045_GOLD, CHDLR_045_SILV,                                            Reg No.: 5,912,235
         CHDLR_045_054




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    Product numbers for known color variations of the Accused Products are listed within Illustration 1.



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         ACCUSED PRODUCTS                      OPULENT’S DESIGNS




 CHDLR_046_GOLD, CHDLR_046_SILV,
         CHDLR_046_054




        CHDLR_CAKE02_GOLD,
         CHDLR_CAKE02_SILV,
         CHDLR_CAKE02_054,
         CHDLR_CAKE02_WHT




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         ACCUSED PRODUCTS                      OPULENT’S DESIGNS




       CHDLR_CAKE01_GOLD,
        CHDLR_CAKE01_054,
        CHDLR_CAKE01_WHT




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         ACCUSED PRODUCTS                      OPULENT’S DESIGNS




       CHDLR_CAKE03_GOLD,
       CHDLR_CAKE03_WHT,
        CHDLR_CAKE03_BLK,
        CHDLR_CAKE03_SILV,
         CHDLR_CAKE03_054




      CHDLR_CAKE05_8_GOLD,
       CHDLR_CAKE05_8_SILV,
      CHDLR_CAKE05_8_WHT,
        CHDLR_CAKE05_8_054




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          ACCUSED PRODUCTS                                OPULENT’S DESIGNS




         CHDLR_CAKE04_WHT;
         CHDLR_CAKE04_GOLD




       51.    According to their websites, Defendants supply home décor and wholesale

party supplies for events. Upon information and belief, Defendants, or their affiliates,

import and/or re-sell the Accused Products into the United States and distribute them to

retail stores across the country, including to stores in the Eastern District of Texas. At such

stores, the Accused Products are advertised, promoted, offered for sale, and sold. Upon




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information and belief, customers have bought the Accused Products from one or more

stores to which Defendants directly or through the third party distributes the Accused

Products.

       52.    The Accused Products also are advertised, promoted, offered for sale, sold,

and transported to customers across the United States, including throughout the Eastern

District     of      Texas,      through       the      websites       www.efavormart.com,

www.tableclothsfactory.com,         www.ehomart.com,           www.silkflowersfactory.com,

www.balsacircle.com, www.leilaniwholesale.com, and www.chaircoverfactory.com that

the respective Defendants operate. Upon information and belief, Defendants have done

business with customers in, and with residents of, this judicial district through its websites.

For example, upon information and belief, customers in this judicial district have purchased

the Accused Products from these websites and have had the Accused Products shipped to

this judicial district. Furthermore, these websites are highly interactive. For instance, the

websites allow online customers to create and store an online profile, purchase products

(e.g., the Accused Products), input personal information (e.g., name, address, and phone

number), input credit card information to pay for products, and chat with the Defendants’

Customer Support Center. Under the authority of the Defendants, the Accused Products are

advertised, promoted, offered for sale, sold, and transported to customers across the United

States, including throughout the Eastern District of Texas, through third-party websites

such   as    www.amazon.com,       www.ebay.com,      www.wayfair.com,       www.sears.com,

www.kmart.com,        www.walmart.com,         www.pinterest.com,        www.facebook.com,

www.linkedin.com, www.instagram.com, www.youtube.com, and www.etsy.com which

are also interactive websites.



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       53.    Defendants are not licensed to use Opulent’s Designs and have no other

affiliation with Opulent. Defendants are also direct competitors with Opulent in the selling

of home décor pieces.

       54.    Defendants’ intentional conduct is likely to cause confusion, to cause mistake,

or to deceive the public and the trade by causing consumers to believe that Defendants’

products originate with, or relate to, Opulent’s goods, or are licensed by, sponsored or

approved by, connected with, or associated with Opulent.

       55.    Before filing its Original Complaint, Opulent informed Defendant Ya Ya that

it was infringing Opulent’s trademark rights and demanded that Defendant Ya Ya stops

using Opulent Designs.

       56.    Defendant Ya Ya refused to comply with Opulent’s demand and continued

their infringing activities by distributing, selling, and promoting their Accused Products.

Thus, Defendant Ya Ya’s continued use of Opulent’s Designs constitutes intentional and

willful infringement of Opulent’s Designs.

       57.    Upon information and belief, Defendants have received takedown requests

for the Accused Products from Opulent through third parties such as Pinterest and Amazon

for the removal of Defendants' Accused Products from those websites. Defendants

continued use of Opulent’s Designs constitutes intentional and willful infringement of

Opulent’s Designs.

       58.    Defendants’ use of Opulent’s Designs has caused, and will continue to cause,

harm to Plaintiff.




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       59.    As discussed below, through these activities related to the Accused Products,

Defendants infringe Opulent’s trade dress rights, engage in unfair competition against

Opulent, are unjustly enriched at Opulent’s expense, and engage in misappropriation.

                                     COUNT I
     (Federal Trademark Infringement Under § 32(1) of the Lanham Act, 15 U.S.C.
                                     § 1114(1))

       60.    All of the above paragraphs are incorporated by reference as if fully restated.

       61.    Opulent’s 3D Marks are inherently distinctive and continue to acquire

substantial distinctiveness and goodwill in the marketplace through Opulent’s use of those

trade dresses in commerce. As a result of Opulent’s widespread and continuous use of its

trade dresses, Opulent’s 3D Marks have become associated in the minds of the relevant

purchasing public with Opulent. The reputation and goodwill that Opulent has built up in

Opulent’s 3D Marks is of great value to Opulent.

       62.    In particular, Defendants’ use of Chandelier Cake Stand which U.S.

Registered mark, Reg. No. 5,912,235 as described above, unless enjoined by the Court, is

likely to cause confusion with, or to cause mistake or deceive consumers as to the origin,

sponsorship, or approval of, Defendants’ services, products, and related commercial

activities, or Opulent’s services, products, and commercial activities, in violation of Section

32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

      63.     Defendants’ infringement of Opulent’s Chandelier Cake Stand mark, and the

Defendants’ other actions as pleaded above, are willful, intentional, and deliberate.

       64.    Defendants’ unlawful conduct has caused and will continue to cause

substantial injury to the public and to Opulent.




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       65.    The intentional and knowing nature of Defendants’ trademark infringement

renders this case an exceptional case, entitling Opulent to an award of costs and reasonable

attorney’s fees under 15 U.S.C. § 1117(a).

       66.    Opulent has no adequate remedy at law.

       67.    By their conduct, Defendants have violated Section 32(1) of the Lanham Act,

15 U.S.C. § 1114(1).

       68.    Opulent has a right to recover Defendants’ profits, damages sustained by

Opulent in an amount to be proven at trial, enhanced damages, costs, and reasonable

attorney’s fees under 15 U.S.C. §§ 1114 and 1117.

                                     COUNT II
   (Trade Dress Infringement Under § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a))

       69.      All of the above paragraphs are incorporated by reference as if fully restated.

       70.      Defendants’ advertisements, promotions, offers to sell, sales, distribution,

manufacture, importing and/or re-selling of the Accused Products violate § 43(a) of the

Lanham Act, 15 U.S.C. § 1125(a), by infringing Opulent’s Designs. The trade dress of the

Accused Products is confusingly similar to Opulent’s Designs. Defendants’ use of

Opulent’s Designs in the Accused Products is likely to cause confusion as to the affiliation,

connection, or association of Defendants with Opulent as to the origin, sponsorship, or

approval of the Accused Products, at least by creating the false and misleading impression

that the Accused Products are manufactured by, authorized by, or otherwise associated

with Opulent.

       71.      Opulent’s Designs are entitled to protection under the Lanham Act.

Opulent’s Designs include unique, distinctive, and non-functional designs. Opulent has




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extensively and continuously promoted and used its trade dresses in the United States.

Through that extensive and continuous use, Opulent Designs have become a well-known

indicator of the origin and quality of Opulent’s products, and Opulent’s Designs have

acquired substantial secondary meaning in the marketplace.

       72.     Moreover, Opulent’s Designs acquired this secondary meaning before

Defendants began their unlawful use of Opulent’s Designs in connection with the Accused

Product. Opulent used its trade dresses extensively and continuously before Defendants

began advertising, promoting, selling, offering to sell, distributing, importing and/or re-

selling the Accused Products. Opulent’s Designs acquired secondary meaning in the United

States, in Texas generally, and in the Eastern District of Texas before Defendants started

unlawful use of Opulent’s Designs.

       73.     Defendants’ use of Opulent’s Designs has caused and, unless enjoined, will

continue to cause substantial and irreparable injury to Opulent for which Opulent has no

adequate remedy at law, including at least substantial and irreparable injury to the

goodwill and reputation for quality associated with Opulent’s Designs, with Opulent, and

Opulent’s products. Additionally, Defendants’ use of Opulent’s Designs has caused injury

to Opulent in the form of lost sales because some customers that would have bought

Opulent’s Designs have bought and will buy Defendants’ Accused Products instead.

       74.     On information and belief, Defendants’ use of Opulent’s Designs has been

intentional, willful, and malicious. Defendants’ bad faith is evidenced at least by the

similarity of the Accused Products to Opulent’s Designs, as shown by, for example,

Illustration 1 above, and by Defendants’ continuing disregard for Opulent’s rights.

       75.     Opulent is entitled to injunctive relief, and Opulent has a right to recover


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at least Defendants’ profits, Opulent’s actual damages, enhanced damages, costs, and

reasonable attorney fees under at least 15 U.S.C. §§ 1125(a), 1116, and 1117.

                                   COUNT III
                        (Common Law Trade Dress Infringement)

       76.     All of the above paragraphs are incorporated by reference as if fully restated.

       77.     Defendants’ advertisements, marketing, promotions, offers to sell, sales,

distribution, manufacture, importing and/or re-selling of the Accused Products, in direct

competition with Opulent, constitute common law trade dress infringement, because

Defendants’ use of Opulent’s Designs is likely to cause consumer confusion as to the origin

or sponsorship or affiliation of the Accused Products by creating the false and misleading

impression that the Accused Products are manufactured by, authorized by, or otherwise

associated with Opulent.

       78.     Opulent’s Designs are entitled to protection under the common law.

Opulent’s Designs includes unique, distinctive, and non-functional designs. Opulent has

extensively and continuously promoted and used its trade dresses in the United States and

Texas. Through that extensive and continuous use, Opulent’s Designs have become a well-

known indicator of the origin and quality of Opulent’s products, and Opulent’s Designs

have acquired substantial secondary meaning in the marketplace. Moreover, Opulent’s

Designs acquired this secondary meaning before Defendant began their unlawful use of

Opulent’s Designs in connection with the Accused Products.

       79.     Defendants’ use of Opulent’s Designs has caused and, unless enjoined, will

continue to cause substantial and irreparable injury to Opulent for which Opulent has no

adequate remedy at law, including substantial and irreparable injury to the goodwill and

reputation for quality associated with Opulent’s Designs, with Opulent, and Opulent’s


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products. Additionally, Defendants’ use of Opulent’s Designs has caused injury to Opulent

in the form of lost sales because some customers that would have bought Opulent’s

Designs have bought and will buy Defendants’ Accused Products instead.

       80.     On information and belief, Defendants’ use of Opulent’s Designs has been

intentional, willful, and malicious. Defendants’ bad faith is evidenced at least by the

similarity of the Accused Products to Opulent’s Designs, as shown in, for example,

Illustration 1 above, and by Defendants’ continuing disregard for Opulent’s rights.

       81.     Opulent is entitled to injunctive relief, and Opulent is also entitled to

recover at least Opulent’s damages, Defendants’ profits, punitive damages, costs, and

reasonable attorney fees.

                                     COUNT IV
      (Trade Dress Dilution under § 43(c) of the Lanham Act, 15 U.S.C. § 1125(c))

       82.     All of the above paragraphs are incorporated by reference as if fully restated.

       83.     Based on the activities described above, including, for example,

Defendants’ advertising, marketing, promoting, offering for sale, selling, distributing,

manufacturing, importing and/or re-selling the Accused Products, Defendants have

diluted, are diluting, and will likely continue to dilute Opulent’s famous trade dresses in

violation of § 43(c) of the Lanham Act, 15 U.S.C. § 1125(c). Defendants’ use of Opulent’s

Designs, including through counterfeits, reproductions, copies, or colorable imitations, is

likely to cause, and has caused, dilution of Opulent’s famous trade dresses, at least by

eroding the public’s exclusive identification of Opulent’s famous trade dresses with

Opulent and Opulent’s products, by lessening the capacity of Opulent’s famous trade

dresses to identify and distinguish Opulent’s products, by associating Opulent’s Designs




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with products of inferior quality, and by impairing the distinctiveness of Opulent’s famous

trade dresses.

       84.       Opulent’s Designs are famous and are entitled to protection under the

Lanham Act. Opulent’s Designs include unique, distinctive, and non-functional designs.

Opulent’s Designs have acquired distinctiveness through Opulent’s extensive and

continuous promotion and use of Opulent’s Designs in the United States. Through that

extensive and continuous use, Opulent’s Designs have become a famous well-known

indicator of the origin and quality of Opulent’s products throughout the United States and

is widely recognized by the general consuming public as a designation of the source of

Opulent’s products. Opulent’s Designs have also acquired substantial secondary meaning

in the marketplace. Moreover, Opulent’s Designs became famous and acquired this

secondary meaning before Defendants began their unlawful use of Opulent’s Designs in

connection with the Accused Products.

       85.       Defendants’ use of Opulent’s Designs, including through counterfeits,

reproductions, copies, or colorable imitations, has caused, and, unless enjoined, will

continue to cause, substantial and irreparable injury to Opulent for which Opulent has no

adequate remedy at law, including substantial and irreparable injury to the goodwill and

reputation for quality associated with Opulent’s Designs, with Opulent, and with

Opulent’s Designs.

       86.       On information and belief, Defendants’ use of Opulent’s Designs,

including through counterfeits, reproductions, copies, or colorable imitations, has been

intentional, willful, and malicious. Defendants’ bad faith is evidenced at least by the

similarity of the Accused Product to Opulent’s Designs, as demonstrated in, for example,



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Illustration 1 above, and by Defendants’ continuing disregard for Opulent’s rights.

       87.     Opulent is entitled to injunctive relief, and Opulent is also entitled to

recover at least Defendants’ profits, actual damages, enhanced profits, and damages, costs,

and reasonable attorney fees under at least 15 U.S.C. §§ 1125(c), 1116, and 1117.

                                      COUNT V
             (Trade Dress Dilution Under Tex. Bus. & Com. Code § 16.103)

       88.     All of the above paragraphs are incorporated by reference as if fully

restated.

       89.     Based on the activities described above, including, for example,

Defendants’ advertising, promoting, offering to sell, selling, distributing, manufacturing,

importing and/or re-selling the Accused Products, Defendant has diluted, is diluting, and

will likely continue to dilute Opulent’s Design in violation of § 16.103 of the Texas

Business & Commerce Code. Defendants’ use of Opulent’s Designs, including through

counterfeits, reproductions, copies, or colorable imitations, is likely to cause, and has

caused, dilution of Opulent’s famous trade dress at least by eroding the public’s exclusive

identification of Opulent’s famous trade dress with Opulent, by lessening the capacity of

Opulent’s famous trade dress to identify and distinguish Opulent’s products, by associating

Opulent’s Designs with products of inferior quality, and by impairing the distinctiveness

of Opulent’s famous trade dress.

       90.     Opulent’s Designs are famous and are entitled to protection under Texas

law. Opulent’s Designs include unique, distinctive, and non-functional designs. Opulent has

extensively and continuously promoted and used its trade dresses in the United States and

in the State of Texas. Through that extensive and continuous use, Opulent’s Designs have




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become a famous and well-known indicator of the origin and quality of Opulent’s products

in the United States, and in the State of Texas generally and in specific geographic areas in

Texas. Opulent’s Designs are widely recognized by the public throughout Texas and in

specific geographic areas in Texas as a designation of the source of Opulent and its

products. Opulent’s Designs also have acquired substantial secondary meaning in the

marketplace, including in Texas and in geographic areas in Texas. Moreover, Opulent’s

Designs became famous and acquired secondary meaning before Defendants started their

unlawful use of Opulent’s Designs in connection with the Accused Products.

       91.     Defendants’ use of Opulent’s Designs, including through counterfeits,

reproductions, copies, or colorable imitations, has caused, and, unless enjoined, will

continue to cause, substantial and irreparable injury to Opulent for which Opulent has no

adequate remedy at law, including at least substantial and irreparable injury to the

goodwill and reputation for quality associated with Opulent’s Designs and with Opulent.

       92.     On information and belief, Defendants’ use of Opulent’s Designs,

including through counterfeits, reproductions, copies, or colorable imitations has been

intentional, willful, and malicious. Defendants’ bad faith is evidenced at least by the

similarity of the Accused Products to Opulent’s Designs, as shown by, for example,

Illustration 1 above, and by Defendants’ continuing disregard for Opulent’s rights.

       93.     Opulent is entitled to injunctive relief, and Opulent is also entitled to

recover at least Defendants’ profits, actual damages, enhanced profits, and damages, and

reasonable attorney fees under at least Tex. Bus. & Com. Code § 16.104.

                                    COUNT VI
      (Unfair Competition under § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a))




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       94.      All of the above paragraphs are incorporated by reference as if fully

restated.

       95.      Defendants’ advertisements, marketing, promotions, offers to sell, sales,

distribution, manufacture, importing and/or re-selling of the Accused Products, in direct

competition with Opulent, violate § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), and

constitute unfair competition because Defendants have obtained an unfair advantage as

compared to Opulent through Defendants’ use of Opulent’s Designs and because such uses

are likely to cause consumer confusion as to the origin or sponsorship or affiliation of

Defendants’ Accused Product, at least by creating the false and misleading impression that

the Accused Products are manufactured by, authorized by, or otherwise associated with

Opulent. Defendants’ tortious activities have interfered with Opulent’s ability to conduct

its business.

       96.      Opulent’s Designs are entitled to protection under the Lanham Act.

Opulent’s Designs includes unique, distinctive, and non-functional designs. Opulent has

extensively and continuously promoted and used its trade dresses in the United States.

Through that extensive and continuous use, Opulent’s Designs has become a well-known

indicator of the origin and quality of Opulent’s products. Opulent’s Designs have acquired

substantial secondary meaning in the marketplace. Moreover, Opulent’s Designs acquired

this secondary meaning before Defendant started their unlawful use of Opulent’s Designs

in connection with the Accused Products.

       97.      Defendants’ use of Opulent’s Designs has caused and, unless enjoined, will

continue to cause substantial and irreparable injury to Opulent for which Opulent has no

adequate remedy at law, including at least substantial and irreparable injury to the



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goodwill and reputation for quality associated with Opulent’s Designs, with Opulent, and

Opulent’s products. Additionally, Defendants’ use of Opulent’s Designs has caused injury

to Opulent in the form of lost sales because some customers that would have bought

Opulent’s Designs have bought and will buy Defendants’ Accused Products instead.

       98.      On information and belief, Defendants’ use of Opulent’s Designs has been

intentional, willful, and malicious. Defendants’ bad faith is evidenced at least by the

similarity of the Accused Products to Opulent’s Designs, as shown by, for example,

Illustration 1 above, and by Defendants’ continuing disregard Opulent’s rights.

       99.      Opulent is entitled to injunctive relief, and Opulent is also entitled to

recover at least Defendants’ profits, Opulent’s actual damages, enhanced damages, costs,

and reasonable attorney fees under at least 15 U.S.C. §§ 1125(a), 1116, and 1117.

                                    COUNT VII
                           (Common Law Unfair Competition)

       100.     All of the above paragraphs are incorporated by reference as if fully restated.

       101.     Defendants’ advertisements, marketing, promotions, offers to sell, sales,

distribution, manufacture, importing and/or re-selling of the Accused Products, in direct

competition with Opulent, constitute common law unfair competition by palming off and

passing off of Defendants’ goods, by simulating Opulent’s Designs in an intentional and

calculated manner likely to cause consumer confusion as to origin or sponsorship or

affiliation of the Accused Products, by creating the false and misleading impression that

the Accused Products are manufactured by, authorized by, or otherwise associated with

Opulent. Defendants’ tortious activities have interfered with Opulent’s ability to conduct

its business.




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       102.    Opulent’s Designs are entitled to protection under the common law.

Opulent’s Designs include unique, distinctive, and non-functional features and are

inherently distinctive. Opulent has extensively and continuously promoted and used

Opulent’s Designs for years in the United States and Texas. Through that extensive and

continuous use, Opulent’s Designs have become a well-known indicator of the origin and

quality of Opulent’s products, and Opulent’s Designs have acquired substantial secondary

meaning in the marketplace. Moreover, Opulent’s Designs acquired this secondary

meaning before Defendants began their unlawful use of Opulent’s Designs in connection

with the Accused Product.

       103.    On information and belief, Defendants’ use of Opulent’s Designs has

caused and, unless enjoined, will continue to cause substantial and irreparable injury to

Opulent for which Opulent has no adequate remedy at law, including at least substantial

and irreparable injury to the goodwill and reputation for quality associated with Opulent’s

Designs, with Opulent, and Opulent’s products. Additionally, Defendants’ use of

Opulent’s Designs has caused injury to Opulent in the form of lost sales because some

customers that would have bought Opulent’s Designs have bought and will buy

Defendants’ Accused Products instead.

       104.    On information and belief, Defendants’ use of Opulent’s Designs has been

intentional, willful, and malicious. Defendants’ bad faith is evidenced at least by the

similarity of the Accused Products to Opulent’s Designs, as shown by, for example,

Illustration 1 above, and by Defendants’ continuing disregard for Opulent’s rights.

       105.    Opulent is entitled to injunctive relief, and Opulent is also entitled to

recover at least Opulent’s damages, Defendants’ profits, punitive damages, costs, and



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reasonable attorney fees.

                                      COUNT VIII
                                   (Unjust Enrichment)

       106.    All of the above paragraphs are incorporated by reference as if fully restated.

       107.    Defendants’ advertisements, marketing, promotions, offers to sell, sales,

distribution, manufacture, importing and/or re-selling of the Accused Products, in direct

competition with Opulent, constitute unjust enrichment, at least because Defendants have

wrongfully obtained benefits at Opulent’s expense. Defendants have also, among other

things, operated with an undue advantage.

       108.    Opulent created the products covered by Opulent’s Designs through

extensive time, labor, effort, skill, and money. Defendants have wrongfully used and is

wrongfully using Opulent’s Designs in competition with Opulent and has gained a

wrongful benefit by undue advantage through such use. Defendants have not been

burdened with the expenses incurred by Opulent, yet Defendants are obtaining the

resulting benefits for its own business and products.

       109.    Opulent’s Designs are entitled to protection under the common law.

Opulent’s Designs includes unique, distinctive, and non-functional features. Opulent has

extensively and continuously promoted and used its trade dresses for years in the United

States and Texas. Through that extensive and continuous use, Opulent’s Designs have

become a well-known indicator of the origin and quality of Opulent’s products, and

Opulent’s Designs have acquired substantial secondary meaning in the marketplace.

Moreover, Opulent’s Designs acquired secondary meaning before Defendants started their

unlawful use of Opulent’s Designs and colorable imitations of them in connection with




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the Accused Products.

          110.   Defendants’ use of Opulent’s Designs has caused and, unless enjoined, will

continue to cause substantial and irreparable commercial injury to Opulent for which

Opulent has no adequate remedy at law, including at least substantial and irreparable

injury to the goodwill and reputation for quality associated with Opulent’s Designs and

with Opulent and Opulent’s products. Opulent accumulated this goodwill and reputation

through extensive time, labor, effort, skill, and investment. Defendants have wrongfully

obtained and are wrongfully obtaining a benefit at Opulent’s expense by taking undue

advantage and free riding on Opulent’s efforts and investments, and enjoying the benefits

of Opulent’s hard-earned goodwill and reputation. Additionally, Defendants’ use of

Opulent’s Designs has unjustly taken sales from Opulent because some customers that

would have bought Opulent‘s Designs have bought Defendants’ Accused Product instead.

          111.   On information and belief, Defendants’ unjust enrichment at Opulent’s

expense has been intentional, willful, and malicious. Defendants’ bad faith is evidenced at

least by the similarity of the Accused Products to Opulent’s Designs, as shown by, for

example, Illustration 1 above, and by Defendants’ continuing disregard for Opulent’s

rights.

          112.   Opulent is entitled to injunctive relief, and Opulent is also entitled to

recover at least Defendants’ profits.

                                      COUNT IX
                              (Common Law Misappropriation)

          113.   All of the above paragraphs are incorporated by reference as if fully restated.

          114.   Defendants’ advertisements, marketing, promotions, offers to sell, sales,




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distribution, manufacture, importing and/or re-selling of the Accused Products, in direct

competition with Opulent, constitute common law misappropriation.

      115.     Opulent created the Opulent’s Designs covered by Opulent’s trade dresses

through extensive time, labor, effort, skill, and money. Defendant has wrongfully used

Opulent’s Designs, including through counterfeits, reproductions, copies, or colorable

imitations of them, in competition with Opulent, and gained a special advantage because

Defendants were not burdened with the expenses incurred by Opulent. Defendants have

commercially damaged Opulent, at least by causing consumer confusion as to origin or

sponsorship/affiliation of the Accused Products by creating the false and misleading

impression that the Accused Products are manufactured by, authorized by, or otherwise

associated with Opulent, and by taking away sales that Opulent would have made.

      116.     Opulent’s Designs are entitled to protection under the common law.

Opulent’s Designs include unique, distinctive, and non-functional features. Opulent has

extensively and continuously promoted and used Opulent’s Design for years in the United

States and Texas. Through that extensive and continuous use, Opulent’s Designs have

become a well-known indicator of the origin and quality of Opulent’s products. Opulent’s

Designs have also acquired substantial secondary meaning in the marketplace. Moreover,

Opulent’s Designs acquired this secondary meaning before Defendants started their

unlawful use of Opulent’s Designs in connection with the Accused Products.

      117.     Defendants’ use of Opulent’s Designs, including through counterfeits,

reproductions, copies, or colorable imitations of them, has caused and, unless enjoined,

will continue to cause substantial and irreparable commercial injury to Opulent for which

Opulent has no adequate remedy at law, including at least substantial and irreparable



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injury to the goodwill and reputation for quality associated with Opulent’s Designs with

Opulent and Opulent’s products. Moreover, as a result of their misappropriation,

Defendants have profited and, unless such conduct is enjoined by this Court, will continue

to profit by misappropriating the time, effort, and money that Opulent invested in

establishing the reputation and goodwill associated with Opulent’s Designs with Opulent

and Opulent’s products.

          118.   On information and belief, Defendants’ misappropriation of Opulent’s

Designs, including through counterfeits, reproductions, copies, or colorable imitations of

them, has been intentional, willful, and malicious. Defendants’ bad faith is evidenced at

least by the similarity of the Accused Products to Opulent’s Designs, as shown by, for

example Illustration 1 above, and by Defendants’ continuing disregard for Opulent’s

rights.

          119.   Opulent is entitled to injunctive relief, and Opulent is also entitled to

recover at least Opulent’s damages, Defendants’ profits, punitive damages, costs, and

reasonable attorney fees.

                 UNCLEAN HANDS BARS APPLICATION OF LACHES

          120.   Defendants are not entitled to the application of the laches defense at least

because of their unclean hands. Defendants have unclean hands because their

wrongfulness, willfulness, bad faith, or gross negligence precludes its application.

          121.   This wrongfulness, willfulness, bad faith, or gross negligence is evidenced

at least by the similarity of the Accused Products to Opulent’s Designs, as shown by, for

example Illustration 1 above, and by Defendants’ continuing disregard for Opulent’s

rights. Defendants have continued to sell Accused Products despite takedown requests.



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                  APPLICATION FOR PERMANENT INJUNCTION

       122.    All of the above paragraphs are incorporated by reference as if fully

restated.

       123.    The harm to Opulent arising from Defendants’ acts are not fully

compensable by money damages.

       124.    On information and belief, Defendants, unless enjoined, will continue to

misrepresent to or mislead the public into believing that their products and services are

sponsored by, approved by, affiliated with, associated with, or originated by Opulent and

infringe the Opulent’s Designs by using Opulent’s famous trade dress or confusingly similar

variations of them to identify Defendants’ competitive products. All these actions violate

the Lanham Act.

       125.    Under 15 U.S.C. § 1116(a), these actions entitle Opulent to a permanent

injunction, upon hearing, enjoining Defendants and their officers, agents, servants,

employees, franchisees, and attorneys, and all persons in active concert or in participation

with Defendants from:

       (a)     Representing Defendants’ services are in any way sponsored by, approved
               by, affiliated with, or originated by Opulent;

       (b)     Representing that Defendants are Opulent;

       (c)     Using any of the Opulent’s Designs or any confusingly similar variation of
               them, alone or combined with other designs or words, to market,
               advertise, or identify Defendants’ products; and

       (d)     Otherwise competing unfairly with Opulent or injuring its business
               reputation in any manner.

       126.    For these actions, there is no adequate remedy at law. Further, Opulent is

substantially likely to prevail on the merits of these claims. The injury to Opulent greatly



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outweighs any injury to Defendants that the requested injunction may cause. The balance

of hardships tips strongly in favor of Opulent. Finally, the injunction will not disserve the

public interest. Thus, in addition to monetary relief, Opulent is also entitled to permanent

injunctive relief against Defendants.


                                  PRAYER FOR RELIEF

       WHEREFORE, by reason of the foregoing, Opulent requests that this Court enter

judgment in its favor and for relief against Defendants as follows:

   A. That the Court enter judgment that:

       1. Defendants violated Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1);

       2. Defendants infringed, engaged in false designation of origin, and unfair

          competition in violation of Section 43(a)(1) of the Lanham Act, 15 U.S.C. §

          1125(a)(1);

       3. Defendants engaged in trademark dilution in violation of Section 43(c) of the

          Lanham Act, 15 U.S.C. § 1125(c);

       4. Defendants engaged in trade dress dilution in violation of Texas Business &

          Commerce Code § 16.103;

       5. Defendants engaged in infringement in violation of the statutory and common

          law;

       6. Defendants engaged in unfair competition in violation of the common law;

       7. Defendants engaged in misappropriation in violation of the common law; and

       8. Defendants were unjustly enriched.




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   B. That the Court issue a permanent injunction restraining and enjoining Defendants,

      and all of its agents, servants, officers, employees, successors, and assigns, and all

      other persons or entities in active concert or participation with Defendants from:

      1. Selling, marketing, advertising, importing, or purchasing the counterfeit product

         (as this term is defined by § 1116(d)) and other Accused Products or colorable

         imitations thereof;

      2. Using any of Opulent’s Designs and/or any other confusingly similar designation,

         alone or in combination with other words, phrases, symbols, or designs, as

         trademarks, trade names, domain name components or otherwise, to market,

         advertise, or identify any Defendants’ goods or services;

      3. Otherwise infringing on Opulent’s Designs;

      4. Diluting Opulent’s Designs and/or 3-D Marks;

      5. Representing or taking any other action likely to cause confusion, mistake, or

         deception on the part of consumers as to the source or origin of Defendants’

         products or services or as to any authorization, sponsorship, approval, or

         affiliation relationship between Defendants and Opulent;

      6. Unfairly competing with Opulent in any manner whatsoever or otherwise

         injuring its business reputation in the manner complained of herein; and

      7. Engaging in assignments or transfers, formation of new entities or associations

         or utilization of any other device for the purpose of circumventing or otherwise

         avoiding the prohibitions set forth in subparagraphs (1) through (6) above.

      8. In accordance with 15 U.S.C. § 1125(b), issue an order barring importation of

         the Accused Product and/or colorable imitations thereof into the United States,



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         and barring entry of the Accused Product and/or colorable imitations thereof into

         any customhouse of the United States.

   C. That the Court enter an order pursuant to 15 U.S.C. §§ 1116, 1118 requiring

      Defendants, their agents, servants, officers, employees, successors, and assigns, to

      destroy all Accused Products or colorable imitations thereof that are in Defendants’

      possession, custody, or control.

   D. That the Court enter an order, pursuant to 15 U.S.C. § 1116, requiring Defendants

      to file with the Court and serve upon Plaintiff within 30 days after the entry of each

      of the preliminary and permanent injunctions a report, in writing and under oath,

      setting forth in detail the manner in which Defendants have complied with

      Paragraphs B and C, supra.

   E. That the Court enter an order pursuant to 15 U.S.C. § 1117 awarding all profits

      received by Defendants from the sales and revenues of any kind made as a result of

      Defendants’ sales of Accused Products and colorable imitations thereof, and

      damages, to be determined, that Opulent has suffered as a result of Defendants’ sales

      and marketing of the Accused Products and colorable imitations thereof, and that

      damages be awarded in an amount sufficient to deter future acts of willful

      infringement by Defendants.

   F. That the Court enter an order, under the common law of the State of Texas,

      enjoining Defendants from diluting Opulent’s Designs and/or Opulent’s 3D Marks.

   G. Order Defendants and Defendants’ officers, agents, servants, employees, franchisees,

      if any, and attorneys, and all persons in active concert or participation with

      Defendants to identify all third parties to whom Defendants’ have represented an



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      ownership, affiliation, association, or sponsorship with the Opulent’s Designs or

      confusingly similar variations of them and to whom Defendants have distributed any

      type of materials incorporating the Opulent’s Designs or confusingly similar

      variations of them.

   H. Order Defendants and Defendants’ officers, agents, servants, employees, franchisees,

      if any, and attorneys, and all persons in active concert or participation with

      Defendants to identify all other websites and marketing materials containing the

      Opulent’s Designs or confusingly similar variations of them.

   I. Order Defendants to immediately recall and sequester inventories of the infringing

      products, and provide an accounting of all sales, revenues, and profits related to

      Defendants’ products that infringe the Opulent’s Designs and/or that are falsely

      designated as sponsored by, approved by, affiliated with, or associated with Plaintiff.

   J. In accordance with 15 U.S.C. §§ 1117(a), 1116, 1125(a) and Tex. Bus. & Com.

      Code §16.104, find this case to be exceptional in Opulent’s favor and award Plaintiff

      its reasonable attorney's fees, costs, and expenses of this action.

   K. That the Court enter an order awarding damages and costs to the fullest extent

      provided for by Texas common law, including punitive damages.

   L. That the Court enter disgorgement of all proceeds, and restitution of all monies

      received by Defendants as the result of their wrongful conduct.

   M. In the alternative and upon the Opulent’s election of remedies, that the Court enter

      an order awarding maximum statutory damages pursuant to § 1117(c).

   N. That the Court enter an order awarding Opulent pre-judgment and post-judgment

      interest.



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   O. That the Court enter such other damages and relief as it deems proper and just.


                               DEMAND FOR JURY TRIAL

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by

jury of any issues so triable by right.


DATED: April 18, 2022                      BROZYNSKI & DALTON PC


                                           By: /s/ Katarzyna Brozynski
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this day a true and correct copy of the foregoing document

was filed electronically. As such, this document was served on all counsel who are deemed

to have consented to electronic service.

          Dated: April 18, 2022                   /s/ Katarzyna Brozynski
                                                  Katarzyna Brozynski




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